     Case 3:07-cv-30185-MAP Document 19 Filed 02/20/09 Page 1 of 2




                      United States District Court
                       District of Massachusetts

WILL QUARTERMAN and
STATE STREET ENTERTAINMENT,
                  PLAINTIFFS

               v.
                                                      CIVIL ACTION NO. 07-30185
CITY OF SPRINGFIELD and
PETER SYGNATOR,
                   DEFENDANTS



             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




        Pursuant to the Federal Rules of Civil Procedure Rule 56 and Local Rules of the

United Sates District Court for the District of Massachusetts, Local Rule 56.1 the

Defendants City of Springfield and Peter Sygnator hereby move for summary judgment

on all counts in their favor. As grounds the defendants contend there is no genuine issue

of material facts of this case and as a matter of law defendants are entitled to summary

judgment. Accompanying this motion is 1) A Concise Statement of Material Facts of

Record; and 2) Memorandum of Law in Support Defendants’ Motion for Summary

Judgment.




62422
      Case 3:07-cv-30185-MAP Document 19 Filed 02/20/09 Page 2 of 2




       WHEREFORE the defendants move this court for summary judgment in their

favor on all counts.



THE DEFENDANT                                               THE DEFENDANT
CITY OF SPRINGFIELD,                                        PETER SYGNATOR,

      John T.
                       Digitally signed by John T.
                                                                                      Digitally signed by Michael
                       Liebel
                       DN: cn=John T. Liebel,                      Michael E.         E. Mulcahy
                                                                                      DN: cn=Michael E. Mulcahy,
/s/                    c=US, o=City of Springfield,          /s/                      c=US, o=City of Springfield
      Liebel           ou=Law Department
                       Date: 2009.02.19 11:24:36
                       -05'00'
                                                                   Mulcahy            Date: 2009.02.19 11:24:57
                                                                                      -05'00'
By, _______________________                                 By, _______________________
John T. Liebel, Esq., BBO#299660                            Michael E. Mulcahy, Esq.,
Chief of Litigation                                         BBO # 561824
City of Springfield Law Department                          City of Springfield Law Dept.
36 Court Street, Room 210                                   36 Court Street, Room 210
Springfield, MA 01103                                       Springfield, MA 01103
(413) 787-6085                                              (413)787-6085
Fax: (413) 787-6173                                         Fax: (413) 787-6173


                                CERTIFICATE OF SERVICE

To: Harold Resnic, Esq.
Law Offices of Harold I. Resnic
95 State Street,
Springfield, MA 01103

I, Michael E. Mulcahy, Esq., hereby certify that I caused the within document to be filed
within the time ordered by this court and further that I caused it to be served on all parties
by delivering a copy to the above named on or before February 20, 2009.
                                                                          Digitally signed by Michael E.
                                                           Michael E.     Mulcahy
                                                                          DN: cn=Michael E. Mulcahy,
                                                                          c=US, o=City of Springfield
                                                       /s/ Mulcahy        Date: 2009.02.19 11:25:18
                                                                          -05'00'
                                                       ___________________________________
                                                       Michael E. Mulcahy




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